
The Supreme Court affirmed the decision of the Court below on March 29, 1880, in the following opinion;
Per Curiam.
None of the errors assigned are sustained. The appellant accepted the office of executor under a will limiting the compensation he was to receive for his services as such, and it would to be a case of an extraordinary character which would induce a court to allow more. The first assignment which complains that the Court allowed four distinct exceptions to the account is contrary to Rule XXII. It is true that these exceptions all related to matters depending upon the same principle, and might have been included in one assignment; which should have shown in its face upon what ground it rested. If, however, it had been properly assigned it would not have availed the appellant. He had no right to farm the land himself. The Court had a right to allow the exceptions filed before the auditor. It was equivalent to a special permission to file the exceptions ■ nunc pro tunc. The rule on the subject is a wise one, but the Court below has the necessary power to prevent it from working injustice. Decree affirmed and appeal dismissed at the cost of the appellant.
